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                      62   Filed 03/07/18
                                 03/08/18 Entered 03/07/18
                                                    03/08/18 16:45:03
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                                                    03/08/18 16:45:03
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                      62   Filed 03/07/18
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                 Doc69-1
                      62   Filed 03/07/18
                                 03/08/18 Entered 03/07/18
                                                    03/08/18 16:45:03
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